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Special Agent: Claudia Chechi

UNITED STATES DISTRICT COURT “T Use

for the

Eastern District of Michigan

AO (Rev. 11/11) Criminal Complaint

United States of America

Vv.

Case: 2:18-mj-30647
Joshua DEPRIEST Assigned To - Unassigned
Assign. Date : 12/14/2018
Description: CMP USA y. SEALED MATTER (SO)

CRIMINAI. COMPLAINT

i, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Wayne in the

October 2018 in the county of

. the defendant(s) violated:
Offense Description

Production of child pornography

On or about the date(s) of

Eastern District of Michigan

Code Section

18 U.S.C. § 2251 (a}
18 U.S.C. § 2252 A(a}(5)(B) and (a)(2) Possession and receipt child pornography

This criminal complaint is based on these facts:

See attached AFFIDAVIT.

Continued on the attached sheet. CG A

Complainant's signature

Special Agent Claudia Chechi

Printed name and title

Swe to before me and signed in my presence. CO
af e-

DEC 44 2018
Judge's signature

Date:
Hon, R. Steven Whalen, United States Magistrate Judge

City and state: Detroit, Michigan
Printed name and tile

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AFFIDAVIT

I, Claudia A Chechi, being first duly sworn, state as follows:

1. I am employed as a Special Agent for the United States Department of
Homeland Security (DHS), ICE Homeland Security Investigations (HS), Detroit,
Michigan; and am currently assigned to the Child Exploitation Investigation Group.
I have been employed as a Special Agent since 2009, when I began my career as a
Special Agent with Immigration and Customs Enforcement, Department of
Homeland Security. During my career, | have received extensive training in the
methods used by alien smugglers, drug traffickers, money laundering organizations,
and child exploitation offenders. I have participated in numerous arrests for various
violations of law; as well as numerous seizures of narcotics and other contraband;
and seizures of currency, monetary instruments, computer equipment, and business
and financial records. I have interviewed multiple subjects who possessed,
distributed, manufactured, and received child pornography images. Along with other
agents, I am responsible for enforcing federal criminal statues involving the sexual
exploitation of children.

2, This affidavit is made in support of a criminal complaint and arrest warrant
for JOSHUA ALLEN DEPRIEST (DOB 06/X X/1988) for violations of 18 U.S.C. §
2251 (a) and 2252A(a)(5)(B) and (a)(2), which make it a crime to produce, receive
and possess child pornography in interstate and foreign commerce.

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3. This affidavit is being submitted for the limited purpose of securing a
complaint and arrest warrant; therefore, this affidavit does not contain every fact that
I have learned during the course of the investigation. | have set forth only those facts
necessary to establish probable cause to believe that DEPRIEST has violated 18
U.S.C. § 2251(a) and 2252A(a)(2) and (a)(5)(B). The information contained in this
affidavit is based upon my personal knowledge, training, and experience, as well as
the combined training and experience of other law enforcement officers with whom
I have had discussions.

DETAILS OF INVESTIGATION

4, On or about October 9, 2018, your affiant received information from Taylor

Police Department (PD) concerning a minor victim (hereinafter MV-1) who resided
and continues to reside in the Eastern District of Michigan. On October 7, 2018,
MV-1’s mother informed Taylor PD officers she found Facebook messages on her
seven-year old son’s cellular telephone containing abusive and sexually explicit
language, as well as child pornography images. MV-1 (DOB XX/XX/2011)
informed her he communicated with an adu!t male on October 6, 2018 via Facebook.
The mother took pictures of the communications between MV-1 and this adult male
using her cellular telephone. She recognized the name of the offender

communicating with MV-1, Joshua DEPRIEST. According to MV-I’s mother,

DEPRIEST was a distant relative of hers. MV-1’s mother also identified the person
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depicted in the profile picture of the individual communicating with her son to be
her relative: JOSHUA DEPRIEST.

5, Your affiant reviewed the communications between MV-1 and DEPRIEST
and the results of forensic examinations conducted on MV-1’s mother’s phone and
MV-1’s phone. Based on this review, your affiant determined that DEPRIEST sent
MV-1 several sexually explicit images. Moreover, the messages sent by DEPRIEST
consisted of multiple and persistent requests for nude images and videos of MV-1.
MV-1 declined on multiple occasions and informed DEPRIEST he was a child and
was not supposed to receive the type of images DEPRIEST sent. The messages
DEPRIEST sent to MV-1 in October of 2018 include, but are not limited to, the

following:

U have a pic of your butt? Plz

- Ifusend mea pic of your butt I will call u

- Such a nice butt buddy

- Ifusend me a video of you farting or pooping I will call right know

- Send mea video of u farting or pooping where it shows your butt hole

- Just a video of your butt hole pushing for a minute or two

- Send a video so I can see better

- Yealhad a friend who was about your age that would always fart on my nose

- My nose would go right into his butt hole and he would rip out alot of farts
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5. Some of the images sent by MV-1 in response to DEPRLIEST’s requests are
described below. MV-1’s mother has identified MV-1 as the boy depicted in
each image:

e {mage bearing filename o3vBIR2H956aiISVvBm_ZwO0qZ8.cnt. Your
affiant has viewed this image for investigative purposes and found this
image to meet the federal definition of child pornography, as it depicts a
MV-! wearing a grey shirt, and dark pants with dinosaur print on it. His
buttocks and part of the genitals are visible. His right hand is visible.

e Image bearing filename O0OOYMVHw93xi7BXY VenBYHznEBU.cnt.
Your affiant has viewed this image for investigative purposes and found
this image to meet the federal definition of child pornography, as it depicts
MV-I wearing a grey shirt with green and dark color short sleeves. MV-1
is nude from the waist down and is exposing his buttocks to the camera.
His right arm is visible.

e Image bearing filename kaAgAptgj2a_hp3KO_ieh8nNDDo.cnt. Your
affiant has viewed this image for investigative purposes and found this
image to meet the federal definition of child pornography, as it depicts a
MV-1 wearing a grey shirt and dark pants with dinosaur print on it. He is
bent forward from the waist, his pants are pulled down, exposing his

buttocks and parts of the genitals to the camera.
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6. During a forensic interview, MV-1 stated that he engaged in a video chat on
Facebook with DEPRIEST. MV-1 positively identified the person depicted on
DEPRIEST’s driver’s license (06/XX/1988) as the person who he had been
communicating with on Facebook that he had told his mother about.
7. In November 2018, Facebook provided information pursuant to a federal
search warrant for the Facebook account DEPRIEST used to communicate with
MV-1. Your Affiant has analyzed the content of the return and found evidence of
the following:

-communication between DEPRIEST and MV-1’s account.

-Images that meet the federal definition of child pornography

-communication regarding a Facebook group with a name indicating

that its purpose involves child pornography

: The explicit communications between MV-1 and DEPRIEST that were recovered
from MV-1 and MV-1’s mother’s phones are not contained in the retarn, most likely
because they were deleted.
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8. Based upon the foregoing, there is probable cause to believe DEPRIEST has
produced child pornography in violation of 18 U.S.C. § 2251(a), and possessed and
received child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B) and (a)(2).

Accordingly, your Affiant respectfully requests that this Court issue an arrest

warrant.
Special Agent Claudia Chechi
Homeland Security Investigations/DHS
SUBSCRIBED and SWORN

before me on December 14, 2018

R. Steven Whalen
United States Magistrate Judge

